           Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 1 of 50



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ELIZABETH CHAN, TAMARA HOFFMAN, RACHEL
EHRENPREIS, CHAIM KATZ, WINNIE CHEUNG, MEIR
EHRENPREIS, JOHN BAILEY, SEAN CARNEY, LUIS
DIAZ AND FAMILIES FOR A BETTER PLAN FOR
CONGESTION,
                                                                Case No. 23-cv-10365
                             Plaintiffs,

                      v.                                        AMENDED COMPLAINT

UNITED STATES DEPARTMENT OF
TRANSPORTATION, FEDERAL HIGHWAY
ADMINISTRATION, THE METROPOLITAN
TRANSPORATION AUTHORITY, THE TRIBOROUGH
BRIDGE AND TUNNEL AUTHORITY, SHAILEN
BHATT, in his official capacity as Administrator of the
Federal Highway Administration, RICHARD J. MARQUIS,
in his official capacity as Division Administrator of the New
York Division of the Federal Highway Administration,
NICHOLAS A. CHOUBAH, P.E. in his official capacity as
Chief Engineer for the New York State Department of
Transportation, WILLIAM J. CARRY in his official
capacity as Assistant Commissioner for Policy for the New
York City Department of Transportation,

                             Defendants.

        Plaintiffs Elizabeth Chan, Tamara Hoffman, Rachel Ehrenpreis, Chaim Katz, Winnie

Cheung, Meir Ehrenpreis, John Bailey, Sean Carney, Luiz Diaz, and Families for a Better Plan for

Congestion, by and through their undersigned attorneys, Steptoe LLC, hereby file this Amended

Complaint against the United States Department of Transportation (“USDOT”), the Federal

Highway Administration (“FHWA”), the Metropolitan Transportation Authority (“MTA”), the

Triborough Bridge and Tunnel Authority (“TBTA”), Shailen Bhatt, in his official capacity as

Administrator of the FHWA, Richard J. Marquis, in his official capacity as Division Administrator

of the New York Division of the FHWA, Nicholas A. Choubah, P.E. in his official capacity as

Chief Engineer for the New York State Department of Transportation (“NYSDOT”), and William

J. Carry in his official capacity as Assistant Commissioner for Policy for the New York City


                                                      1
            Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 2 of 50



Department of Transportation (“NYCDOT”), and allege as follows:

                               I.      NATURE OF THE CASE

       1.      This is an action to challenge the process by which Defendants have hurriedly

sought to implement congestion pricing in New York City—the first in United States history—

without taking a sufficiently “hard look” at the profound impact the far-reaching program will have

on Plaintiffs and their families and the everyday lives of millions in the New York region, and

without sufficiently involving Plaintiffs in an environmental review process that mandates it.

       2.      Defendants attempt to implement a congestion pricing plan (the “Congestion

Pricing Plan” or “Plan”) that will seismically shift traffic and inflict significant environmental

damage on New York City for years to come. Yet, Defendants did not first conduct an

Environmental Impact Statement (“EIS”), because doing so would likely have jeopardized the Plan

and risked losing the $1 billion in annual income and $15 billion in total income expected to inure

to the benefit of the financially-challenged MTA. Defendants seem to have worked backwards to

achieve a pre-determined approval of the project and a pre-ordained revenue target, disregarding

the significant adverse impact on Plaintiffs and New York City. This approach is contrary to

federal law, and the decision to forego an EIS reflects arbitrary and capricious decision-making.

The ultimate tolling structure recommended by the MTA and TBTA following the superficial

federal environmental review process violates both the United States and New York Constitutions.

       3.      The National Environmental Policy Act (“NEPA”) is intended to ensure that

“Federal Agencies consider the environmental impact of their actions in the decision-making

process.” 40 C.F.R. § 1500.1. Accordingly, NEPA requires agencies to: (1) closely examine the

environmental impact of an action before it occurs; and (2) provide the public with a meaningful

role in both the decision-making and implementation of that decision. On both fronts, the NEPA

process for the Congestion Pricing Plan failed.


                                                   2
              Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 3 of 50



         4.       Since 2022, when the draft Environmental Assessment (“EA”) was first made

available, Plaintiffs have continued to voice their concerns about the impact of the Congestion

Pricing Plan on Battery Park City (“BPC”) and its surrounding environs. Given the narrow width

of all of Lower Manhattan, and its close proximity to exempted thoroughfares, tolling all of

Manhattan south of 60th Street (the “Manhattan Central Business District” or “CBD”), 1 as

acknowledged by Defendants, will lead to the diversion of traffic to BPC and its neighboring

communities; it will not alleviate the congestion problem or improve air quality there. The

Congestion Pricing Plan will not improve the quality of life or result in safer streets in Lower

Manhattan. Quite to the contrary, there will be more congestion, destruction of air quality, and

unsafe streets for pedestrians (including children) trying to cross busy, exempted thoroughfares in

an area densely populated with public, private, and nursery schools. To a family-centric BPC

community, in particular, who is all too familiar with the importance of air quality in the years

since the devastation of 9/11 and the pollution and public health issues that followed, ensuring

clean air and a healthful, safe environment is of paramount importance.

         5.       The Congestion Pricing Plan will have a heavy impact on BPC and all of Lower

Manhattan. First, the Hugh L. Carey Tunnel, a major entry point into the CBD lies at its Southern

tip and is at the base of the BPC. Second, the eastern boundary of the BPC is West Street (the

West Side Highway) 2, an exempted thoroughfare that, as a result of the exclusion, will experience

a sharp increase of vehicles seeking to avoid tolls. Interior roads will likely experience additional

traffic as well. BPC residents do not have contiguous access to the CBD, as every entrance to and


1
  The CBD is “the geographic area in the borough of Manhattan south of and inclusive of sixtieth street to the extent
practicable but shall not include the FDR Drive, and New York state route 9A otherwise known as the ‘West Side
Highway’ including the Battery Park underpass and any surface roadway portion of the Hugh L. Carey Tunnel connecting
West St. The boundaries of the central business district shall not be modified, expanded, or reduced and shall incorporate
the outer bounds of the aforementioned district to the extent practicable.” N.Y. Veh. & Traf. Law § 1704(2).
2
 The West Side Highway begins in BPC as West Street, close to the mouth of the Brooklyn-Battery Tunnel, where it
also accepts traffic from the southern terminus of the FDR Drive.
                                                            3
            Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 4 of 50



exit from the neighborhood requires using West Street. BPC only has one interior, segmented

avenue (comprised of North End Avenue, South End Avenue and Little West Street) in which

people coming east can travel freely from the CBD without a toll, in a way that many residents

cannot. And as anyone who has driven on the West Side Highway area is painfully aware, there is

already significant traffic there. For residents of BPC, some 25% of whom own and park their cars

downtown, nearly every trip away from home will result in $15 in increased tolls. The MTA

acknowledges that for residents who live on the boundary of the CBD and exempted

thoroughfares, the Congestion Pricing Plan would “add complexity to certain activities for those

individual residents, such as dropping off purchases at a residence after a shopping trip,” but has

dismissed the concern out-of-hand, summarily concluding (of the 60th Street vicinity) that “most

residents do not have vehicles.” Whether true or not there, that is not so for Lower Manhattan.

       6.      BPC also stands in close proximity to a number of environmental justice

communities in downtown Manhattan, including the Lower East Side, Chinatown, and the

residential neighborhoods along the FDR Drive (including Stuyvesant Town, Peter Cooper

Village, Waterside Plaza, among others) which are also likely to be significantly impacted by the

tolls, traffic diversion, and pollution from Congestion Pricing. By the MTA’s own estimation,

traffic on the lower FDR Drive near these communities could increase by some 26% under the

Congestion Pricing Plan.

       7.      Under NEPA, environmental justice communities in Lower Manhattan and around

New York must receive specific treatment and close consideration to mitigate any potential

“adverse human health or environmental effects.” Though Defendants were forced to conduct a

supplemental analysis of environmental justice communities based on the significant number of

public comments received after the Draft EA, the studied area for much of the additional analysis

was based on an ill-fitting 10-county “Local Study” that aggregated results for vast geographic

                                                  4
             Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 5 of 50



portions of New York City (i.e. New York County, Queens County); more detailed analysis was

conducted based on self-selected traffic criteria (eliminating, for example, the need to conduct

more thorough air quality testing in places like the FDR Drive); and much of the analysis was left

to “post-implementation monitoring” and a vague and inadequate “package of mitigation

measures.”

       8.       Even with the cursory review, Defendants conceded in the Final EA that the

Congestion Pricing Plan would have a “potentially adverse effect from increased air pollution due

to traffic increases near environmental justice communities that are already overburdened by pre-

existing air pollution and chronic diseases.”

       9.       Throughout the federally mandated environmental review process, Plaintiffs

attempted, time and time again to access local decision-makers and the federal environmental

review process in order to emphasize the impact the Congestion Pricing Plan would have on their

particular communities and the City at-large. Plaintiffs followed directions from elected officials

throughout the comment period and NEPA process, but were repeatedly met with resistance,

willful indifference, or simply ignored.

       10.      In public comments, Defendants have repeatedly stressed the “4,000-page” EA

performed by the FHWA along with the MTA, NYSDOT, and NYCDOT (hereinafter, the “Project

Sponsors”) as evidence that a sufficient environmental review was conducted. Yet, even if the

total number of pages was 4,000 (the number is actually closer to 838 pages without appendices)

and even if the quantity of pages of an EA were a fair proxy for the quality of environmental

analysis—and, of course, it is not—one would look in vain in the EA for any analysis of the

impact of the Congestion Pricing Plan on the BPC. BPC was omitted completely from any

meaningful analysis or consideration.




                                                  5
             Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 6 of 50



       11.      Defendants had no intention of ever deviating from the Draft EA. The 838-page

document was announced and placed on the MTA’s website and the public was provided a 30-day

review and comment period, all without the benefit of a notice published in the Federal Register or

docket to facilitate the review of material. The comment period (and it was unclear from public

websites whether the process was a public “review” period or comment period) was extended by

only 14-days, despite requests for substantially longer extensions. The public was further hindered

from participating in the process by a compressed series of hearings scheduled right before the 2022

Labor Day holiday.

       12.      During the 44-day comment period, the FHWA and the Project Sponsors received

more than 69,000 submissions, including from Plaintiffs, outlining significant opposition to the

Congestion Pricing Plan. Despite the outpouring of concern, protest, and request for further

analysis from the EPA and others, few material changes were made from the Draft EA to the Final

EA.

       13.      In May 2023, the FHWA approved New York’s Central Business Tolling Program

without first requiring an EIS. The FHWA stated that an EIS was not required because the

“Proposed Action . . . will have no significant impact on the human or natural environment.” The

conclusion of “no significant impact” was reached without knowing any of the core elements of

the ultimate tolling structure—the toll price, exemptions, credits, and discounts for drivers.

       14.      This finding of no significant impact (“FONSI”) violates NEPA because it is

“arbitrary and capricious.” NEPA requires a federal agency to conduct a comprehensive review and

prepare a complete EIS whenever a proposed action will, as here, “significantly affect[] the quality

of the human environment.” 42 U.S.C. § 4332(2)(C).

       15.      As in the EA, a review of the FONSI demonstrates that the area of BPC was not even

considered, despite its adjacency to a major entrance point to the CBD and a major exempted

                                                   6
                Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 7 of 50



thoroughfare. Residents, businesses, schools, and public recreational areas and playgrounds that sit

along the exempted West Side Highway thoroughfare were not included in the document or even

acknowledged. This includes multiple schools, among them, PS/IS 89, PS/IS 276, PS 150, Leman

Manhattan Preparatory School, Stuyvesant High School, and The Learning Experience.

          16.      The decision to “issue a finding of no significant impact” and refusal to conduct an

EIS is even more arbitrary and capricious when compared with the recent history of other projects in

New York State. At least eight federal transportation projects in the past 10 years, all of far less

environmental impact than the sprawling the Congestion Pricing Plan, have required an EIS. The

first congestion pricing program ever implemented in the United States—unlike these other more

ordinary and less impactful transportation projects—should be subjected to a full environmental

review.

          17.      While New Yorkers generally recognize that congestion is a serious problem in New

York City as a whole, any congestion pricing program should not alleviate congestion in one part

of New York City to the significant detriment of the residents of other parts of New York City,

including a neighborhood like BPC, whose residents will be penalized to even access their homes.

The Congestion Pricing Plan, an attempt to reduce congestion in the CBD, appears to move the

traffic patterns from within the CBD to the exempted thoroughfares around the CBD, specifically

the West Side Highway, the FDR Drive, the Battery Park Underpass, and any surface roadway

portions of the Hugh L. Carey Tunnel connecting to West Street. As discussed herein, the effects

of this re-routing of traffic, among other things, were not sufficiently analyzed.

          18.      Plaintiffs have families that are living, working, and going to school in Lower

Manhattan. The MTA acknowledges that children and families that live and work near the

exempted thoroughfares, like the West Side Highway and the FDR Drive, will see an increase in

asthma rates and other illnesses. The MTA and FHWA have also admitted that there will be

                                                     7
               Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 8 of 50



diversions of traffic and increases in air pollutants throughout the five boroughs of New York City

and New Jersey, in some cases for the next 20 years. The Congestion Pricing Plan would have

particular adverse impacts on communities with environmental justice concerns, communities that

have some of the highest preexisting pollution and chronic disease burdens.

         19.      The FHWA considered only one alternative to the Congestion Pricing Plan—the

“No Action Alternative.” All other potential revenue raising alternatives were rejected at the

outset in large part because they would not achieve the $15 billion revenue goal set forth by the

Traffic Mobility Act—notwithstanding that they would have reduced traffic congestion. The

FHWA also did not consider whether a combination of these alternatives could meet its goals—all

due to a primary concern, not to consider the environmental needs of the affected communities, but

to raise money for the MTA.

         20.      Yet, as contrasted with the $1 billion in annual revenue and estimated $15 billion to

the MTA capital program, the Project Sponsors of the Congestion Pricing Plan committed a paltry

$155 million over 5 years for mitigation measures to alleviate these impacts. None of the air

pollution and traffic mitigations efforts and additional testing that the EPA and others

recommended were included in the EA or FONSI, and, as with its overall analysis, BPC and the

surrounding environmental justice communities in Lower Manhattan were largely left out of any of

the proposed mitigation programs. 3

         21.      Plaintiffs seek a full EIS. An EIS must fully and fairly discuss significant

environmental impacts, inform decision makers and the public of reasonable alternatives that would

avoid or minimize adverse impacts or enhance the quality of the human environment, assess all


3
  There is one “Place-Based Mitigation” measure in the EA that would toll vehicles traveling northbound on the FDR
Drive that exist at East Houston Street and then travel southbound on the FDR Drive. First, that mitigation effort, even
if successful, would only reduce a quarter of the estimated 26% increase in traffic under certain tolling scenarios on the
lower FDR Drive under the Congestion Pricing Plan. Second, that mitigation measure would do nothing to alleviate
the significant financial burden on environmental justice Lower East Side families, including Plaintiffs, who would
have to pay the staggering $15 toll each day they leave and enter the Manhattan CBD.
                                                            8
             Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 9 of 50



reasonable alternatives that are consistent with the identified purpose and need, and evaluate a no-

action alternative and all reasonably available measures to mitigate adverse environmental impacts.

40 C.F.R. §§ 1502.1, 1502.13, 1502.14(a), 1502.14(c).

       22.      By the time the Final EA and FONSI decision reached New York’s TBTA and

Traffic Mobility Review Board (“TMRB”), the Congestion Pricing Plan was a foregone

conclusion. Under the TMRB’s proposal, adopted by the MTA on December 6, 2023, the

Congestion Pricing Plan will cost those traveling into the congestion zone a staggering $15 as a

base toll, with other classes of vehicles, including large trucks, paying up to $36 per day to drive

into Manhattan. This fee is on top of the already sizable amounts charged for virtually all of the

river crossings into Manhattan and creates certain off-sets and discounts depending on crossing,

driver, and time.

       23.      At the time the FHWA found that the Congestion Pricing Plan in New York City

would have “no significant impact on the human or natural environment,” the ultimate structure of

the tolls was unknown. The MTA presented a series of different possible pricing scenarios for the

Congestion Pricing Plan to the FHWA, and the FONSI issued a “finding of no significant impact”

for any of the scenarios to proceed. The scenarios varied as to the toll rate, the timing of different

rates, who would be entitled to exemptions and under what circumstances, which river crossings

would receive a credit towards the toll, how much that credit would be, and even the number of

times per day vehicles would be charged.

       24.      It is hard to imagine how the FHWA could have conducted an accurate or

comprehensive review of the environmental impact, burden on other transportation systems, likely

change in traffic patterns, necessary mitigation measures, or potential harm to outer-borough and

out-of-State residents, without knowing the actual “price” and structure of the Congestion Pricing

Plan and its impact on driving behavior. Indeed, none of the scenarios in the EA modeled the


                                                   9
           Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 10 of 50



impact of the recommended toll structure. At the very least, the FHWA must take a “hard look” at

the Congestion Pricing Plan in a supplemental NEPA environmental review process that closely

analyzes the actual tolling scheme recommended by the MTA and TBTA.

        25.     Plaintiffs respectfully request this Court to: (1) vacate and set aside Defendants’

FONSI and EA and compel Defendants to conduct a full and proper EIS for the CBD; (2) declare

that the FHWA’s failure to prepare an EIS for the Congestion Pricing Plan, or to adequately

explain why an EIS is unnecessary, violates NEPA, its implementing regulations, and the APA;

(3) declare that Defendants violated the APA, and that the transportation conformity determination

for congestion pricing in the CBD was incomplete and provided no lawful basis for granting any

approval; (4) alternatively, order a supplemental NEPA review in light of changed circumstances;

and (5) declare that the actions of the MTA and TBTA in implementing the Congestion Pricing

Plan violate both the United States and New York State Constitutions.

                                 II.    JURISDICTION AND VENUE

        26.     This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. § 1331

because it presents a federal question under the laws of the United States, including NEPA and the

APA, and the dormant Commerce Clause of the United States Constitution. Because the United

States is a defendant, jurisdiction is also proper under 28 U.S.C. § 1346. The Court has

supplemental jurisdiction over Plaintiffs’ state-law claims under 28 U.S.C. § 1367(a).

        27.     Venue is proper pursuant to 28 U.S.C. § 1391(e)(1)(B), because a substantial part of

the events or omissions giving rise to Plaintiff’s claims occurred in this District. Venue is also

proper under 28 U.S.C. § 1391(e)(1)(C), because no real property is involved in the action and

Plaintiffs live within this District.

                                        III.   PARTIES

        28.     Plaintiff Elizabeth Chan is a lifelong resident of New York City and has lived her

                                                   10
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 11 of 50



entire life in BPC, since the 1980s. She has grown up as one of the first families with children in

in the area and continues to raise her own two young children in BPC today. Ms. Chan’s children

attend grade and nursery school in Lower Manhattan and they walk across West Street every day.

One of her children has special needs and suffers from an autoimmune and neurological condition

that causes frequent febrile seizures, often needing to go to the emergency room via ambulance.

Over the past 12 months, Ms. Chan has gone with her child to urgent care or the hospital

emergency room approximately 50 times. The estimated ambulance time to the nearest hospital in

her area is five minutes. However, following the Congestion Pricing Plan, the estimated

ambulance response time is expected to increase up to 2 to 3 times the current response rate. The

resulting delay could have life and death consequences for all residents that require emergency

health care, including Ms. Chan’s child, and other children in BPC and Lower Manhattan with

special needs. Ms. Chan also frequently visits family who lives within the CBD and outside the

CBD. The only realistic way to transport her children (including to medical appointments)—

especially her youngest child who has fine and gross motor deficits—is by car, and Ms. Chan will

be immediately charged the $15 toll each time she leaves the CBD. Because of her concerns for

her community and families, Ms. Chan has tried repeatedly to navigate and engage in the NEPA

process. Despite voicing her considerable and legitimate concerns, Ms. Chan has been repeatedly

met with indifference or worse by local elected officials and entirely ignored in the environmental

review process.

       29.     Plaintiff Tamara Hoffman resides in BPC. Ms. Hoffman has been living and

working in NYC for over 19 years, working in Lower Manhattan all of that time. In 2017, Ms.

Hoffman and her family moved to Lower Manhattan. Ms. Hoffman has a young, special needs

daughter with a sensory processing disorder, ADHD, and autism. She attended The Learning

Experience School and then went to PS 276 Battery Park City School and often plays in the park

                                                 11
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 12 of 50



that is adjacent to West Street. Ms. Hoffman’s daughter’s school is one block from West Street

and she is concerned for the health impact of changes in traffic patterns of the exempted

thoroughfares and air quality for her and her family. Because of this concern, going back to 2019,

Ms. Hoffman has tried repeatedly to get information about the Congestion Pricing Plan and

participate in the public environmental process to no avail.

       30.     Plaintiff Rachel Ehrenpreis resides on the Lower East Side, where she has lived

with her family for nearly 20 years. With an FDR Drive address, and located between two

environmental justice neighborhoods, the windows to Ms. Ehrenpreis’ apartment face the precise

highway location that has been identified in the EA and FONSI as facing significant increased

diverted traffic (and likely attendant health impacts) resulting from the Congestion Pricing Plan.

Ms. Ehrenpreis’ children attend religious school uptown, as there are no Orthodox Jewish girls’

high schools in her neighborhood. She drives her children to school and will be forced to pay the

Congestion Pricing Plan toll every day, a significant financial burden. Because of her concerns

about air and noise pollution, increased traffic, and the cost, Ms. Ehrenpreis has attended meetings

and has repeatedly voiced her concerns, which have been largely ignored.

       31.     Plaintiff Chaim Katz is a resident of the Lower East Side, where his family has

lived for generations in a historic Jewish Community, dating back to the late 1800s. He has six

children and his parents and grandparents live in the community as well. Mr. Katz lives in an

environmental justice community directly adjacent to the FDR Drive. Like Ms. Ehrenpreis, by the

Defendants’ own analysis, the Congestion Pricing Plan will increase traffic, noise, and air pollution

right where Mr. Katz lives with his family. Mr. Katz’s grandparents, who are in their 90s, live in

the community, as they have for their entire lives. Like many others, the Congestion Pricing Plan

will impact the ability of Mr. Katz’s family to travel to see his elderly grandparents. Mr. Katz has

attempted to speak with local officials about the impact of the Congestion Pricing Plan on his

                                                 12
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 13 of 50



family and the greater Lower East Side Community and the likelihood that the Plan will hasten an

exodus from the historical and largely residential neighborhood. His concerns and protests have

been met with indifference.

       32.     Winnie Cheung is a resident of BPC, where she lives with her two young daughters,

both of whom attend a gifted and talented school (which is unavailable in BPC), PS 124 in

Chinatown, an environmental justice community. Ms. Cheung drives every morning and every

afternoon to school under the Battery Underpass, onto the FDR Drive, and back off the Brooklyn

Bridge exit. For that short distance on the FDR Drive and back into Lower Manhattan, Ms.

Cheung will be charged $15. She also has family living in Chinatown as well as doctors’

appointments, grocery shopping, and her children’s extracurricular activities in Chinatown. All of

these daily activities will now require Ms. Cheung to pay the Congestion Pricing Plan toll,

significantly burdening her finances.

       33.     Plaintiff Meir Ehrenpreis is a resident of Flushing, New York and has been a New

York City resident for the past 26 years. Mr. Ehrenpreis lives near the Van Wyck Expressway in a

“transit desert” that requires him to take and transfer on 3 buses and trains to get anywhere in New

York City on public transit. Because of this, Mr. Ehreinpreis commutes to the City on a regular

basis and also travels with his young children who require car seats. The environmental, financial,

and traffic congestion impact of the Congestion Pricing Plan will alter Mr. Ehrenpreis’ way of life

and ability to drive in New York City and he will not benefit from most, if any, improvements the

MTA plans to make.

       34.     Plaintiff John Bailey is a resident of Pennsylvania and is the owner of Bailey

Coach, Inc. a private busing company headquartered in Spring Grove, Pennsylvania,

approximately 156 miles from New York City. Mr. Bailey and his company travel regularly with

passengers from South Central Pennsylvania and elsewhere including school groups, tourists, and
                                                 13
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 14 of 50



lower income passengers traveling to New York City. The Congestion Pricing Plan will have a

significant impact not only on Mr. Bailey’s business, as it will place an additional cost on each trip,

but also the passengers he transports, who will be forced to pay a higher price to travel to New

York City to offset the additional tolls. Mr. Bailey informed officials of his concern during the

public commenting period, but he was ignored.

       35.     Plaintiff Sean Carney is a resident of Norwood, New Jersey, located in northeast

Bergen County. Mr. Carney is a violinist whose main source of income is working on Broadway

shows in mid-town Manhattan. Because of the lack of mass transit and his late working hours,

driving to New York City has been Mr. Carney’s only means of transportation into and out of New

York City for the past 35 years. He already pays $17 a day, six days a week to cross the George

Washington Bridge and, under the Congestion Pricing Plan, would be forced to pay an additional

$15-dollar toll. The Congestion Pricing Plan will impose a significant financial burden on Mr.

Carney, who cannot afford this daily additional charge while commuting and continuing to support

his family, including his 23-year old special needs child.

       36.     Plaintiff Luis Diaz is a resident of Bardonia, New York in Rockland County. He

commutes to Manhattan most days and works as an entertainer, DJ, and stand-up comedian which

requires travel very late at night and early in the morning. He commutes by car, as he lives far

from public transit and must transport his heavy DJ equipment. The Congestion Pricing Plan will

impose a significant financial burden on Mr. Diaz.

       37.     Families for a Better Plan for Congestion is an unincorporated association, founded

by Elizabeth Chan, with its principal place of business in the City and County of New York.

Families for a Better Plan for Congestion is comprised of close to 200 families from BPC and the

Lower Manhattan area, including Plaintiffs, who are concerned with the financial and

environmental impact that the Congestion Pricing Plan tolls and increased congestion will have on

                                                  14
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 15 of 50



their community. Because of these concerns, members of Families for a Better Plan for

Congestion submitted comments during the environmental review process, tried to speak with

elected officials about the harm from the Congestion Pricing Plan, the lack of attention and

analysis being paid to the community, and the paucity of mitigation programs aimed at their

neighborhood. These efforts were ignored.

       38.     Defendant USDOT is the federal government department responsible for oversight

of the transportation planning process, including implementing NEPA requirements.

       39.     Defendant FHWA is a federal agency within the USDOT that supports state and

local governments in the design, construction, and maintenance of the Nation’s highway system,

including provisioning of financial and technical assistance. The FHWA must ensure that the

activities it authorizes comply with governing federal environmental statutes, including NEPA.

The FHWA authorizes states to toll on federal roads and highways under the VPPP. 23 U.S.C.

§ 129. The FHWA issued the Final EA and FONSI for the Congestion Pricing Plan and must

approve it under the VPPP; it was therefore required to perform a NEPA review pursuant to its

regulations. 23 C.F.R. Part 771.

       40.     Defendant MTA is a public benefit corporation chartered by the New York State

Legislature in 1968 under the Metropolitan Transportation Authority Act, N.Y. Pub. Auth. Law

§ 1260 et seq. Defendant is a program sponsor for the Congestion Pricing Plan.

       41.     Defendant TBTA is a public benefit corporation organized and existing under the

Public Authorities Law of the State of New York, empowered to acquire, design, construct,

maintain, operate, improve, and reconstruct toll bridges and toll tunnels that connect the five

boroughs of New York City. The Traffic Mobility Act provides that TBTA design, develop, build,

and run the Congestion Pricing Plan. The Act also authorizes the TBTA Board to establish the

TMRB, which was tasked with issuing the final tolling structure for the Congestion Pricing Plan.


                                                  15
             Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 16 of 50



          42.      Defendant Shailen Bhatt is the Administrator of the FHWA, and he is responsible for

the Final EA and FONSI. He is named herein and at all times mentioned herein in his official

capacity.

            43.    Defendant Richard J. Marquis is the Division Administrator for the New York

    Division of the FHWA. Named in his official capacity, Marquis is also responsible for the EA and

    FONSI at issue and signed both documents.

          44.      Defendant Nicholas A. Choubah, P.E. is the Chief Engineer at the New York State

Department of Transportation. 4 Named in his official capacity, Choubah is also responsible for the

EA and FONSI at issue and signed both documents. Mr. Choubah, as Chief Engineer for the

Congestion Pricing Plan, is closely connected with the enforcement and implementation of the acts

at issue.

          45.      Defendant William J. Carry is the Assistant Commissioner for Policy at the New York

City Department of Transportation. Named in his official capacity, Carry was the project lead for the

New York City Department of Transportation, listed as the City contact for information on the EA,

and received a copy of the Plaintiff’s response to the EA.

                                          IV.     FACTS

                A. Applicable National Environmental Policy Act Provisions

          46.      In 1970, Congress passed the National Environmental Policy Act (“NEPA”), which

is “intended to ensure Federal agencies consider the environmental impacts of their actions in the

decision-making process.” 40 C.F.R. § 1500.1(a). NEPA requires that (1) agencies take a hard

look at the environmental impacts of an action before it occurs; and (2) the public has a “role in

both the decision-making process and the implementation of that decision.”

          47.      Under NEPA, the lead agency funding, authorizing, or implementing a proposed

4
 Upon information and belief, Chief Engineer Nicholas A. Choubah has been replaced by Stephanie Winkelhake, who
currently acts as Chief Engineer for the New York State Department of Transportation.
                                                      16
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 17 of 50



action must conduct and prepare an EA analyzing the proposed action’s direct, indirect, and

cumulative impacts to determine whether or not the action would “significantly affect[] the quality

of the human environment.” 42 U.S.C. § 4332(2)(c). The EA is prepared by a federal agency to

aid an agency’s compliance with NEPA and support its determination of whether to prepare an EIS

or a FONSI. 40 C.F.R. § 1501.4.

       48.      First, agencies must consider an action’s “[d]irect effects,” which are “caused by

the action and occur at the same time and place.” Id. § 1508.1(g)(1). Second, they must consider

“indirect effects,” which may be “later in time or farther removed in distance, but are still

reasonably foreseeable.” Id. § 1508.1(g)(2). “Indirect effects may include . . . related effects on

air and water and other natural systems.” Id. Third, they must consider an action’s “cumulative

effects,” which “result from the incremental effects of the action when added to the effects of other

past, present, and reasonably foreseeable actions,” regardless of who undertakes those actions. Id.

§ 1508.1(g)(3). Fourth, agencies must assess an action’s potential “effects on natural resources

and on the components, structures and functioning of affected ecosystems,” as well as any

“aesthetic, historic, cultural, economic, social, or health” impacts. Id. § 1508.1(g)(4).

       49.      If the lead agency finds that the action will significantly affect the quality of the

human environment, the agency must prepare an EIS. 40 C.F.R. § 1501.5(c)(1); 23 C.F.R.

§ 771.119(i). An EIS requires a detailed and rigorous assessment of the proposed action.

       50.      If the lead agency finds that the proposed action will have no significant impact on

the environment, it may issue a Finding of No Significant Impact (“FONSI”). Id. § 1501.6.

             B. Executive Orders

       51.      In addition to the requirements of NEPA and its implementing regulations,

Executive Order 12898, Executive Order 14008, and the Council on Environmental Quality

(“CEQ”)’s NEPA Environmental Justice guidance require federal agencies to study and address


                                                    17
                Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 18 of 50



environmental justice issues when conducing a NEPA review. Executive Order 12898 directs

agencies to “make achieving environmental justice part of [their] mission by identifying and

addressing, as appropriate, disproportionately high, and adverse human health or environmental

effects of [their] programs, policies, and activities.” Exec. Order No. 12,898, 59 Fed. Reg. 7,629,

7,629 (Feb. 11, 1994).

            52.     The Order also requires agencies to develop and implement an “environmental

justice strategy” that “promote[s] enforcement of all health and environmental statutes,” “ensure[s]

greater public participation,” and “improve[s] research and data collection relating to the health of

and environment of minority and low-income populations.” Id. at 7,630.

            53.     The CEQ provides NEPA Environmental Justice Guidance “to further assist Federal

agencies with their NEPA procedures so that environmental justice concerns are effectively

identified and addressed.” 5 CEQ highlights that “[m]itigation measures identified as part of an

environmental assessment (EA), a finding of no significant impact (FONSI), an environmental

impact statement (EIS), or a record of decision (ROD), should, whenever feasible, address

significant and adverse environmental effects of proposed federal actions on minority populations,

low income populations, and Indian tribes.” 6 The guidance states that “[e]nvironmental justice

issues may arise at any step of the NEPA process and agencies should consider these issues at each

and every step of the process, as appropriate.” 7

            54.     Agencies should specifically consider at least: “the composition of the affected area,

to determine whether minority populations, low-income populations, or Indian tribes are present in



5
 Council on Env’t Quality, Environmental Justice: Guidance Under the National Environmental Policy Act 1 (1997),
https://www.epa.gov/sites/default/files/2015- 02/documents/ej_guidance_nepa_ceq1297.pdf [hereinafter “CEQ NEPA
Guidance”].
6
    Id. at 4.
7
    Id. at 8 (emphasis added).

                                                       18
                  Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 19 of 50



the area affected by the proposed action, and if so whether there may be disproportionately high and

adverse human health or environmental effects on [them]”; 8 “relevant public health data and

industry data concerning the potential for multiple or cumulative exposure to human health or

environmental hazards in the affected population”; 9 “the interrelated cultural, social, occupational,

historical, or economic factors that may amplify the natural and physical environmental effects of

the [action, including the communities’] physical sensitivity [and] the effect of any disruption on

the community structure associated with the proposed action.” 10 Finally, to comply with NEPA,

agencies “should seek input from [environmental justice communities] as early in the process as

information becomes available.” 11

                  C. Previous FHWA Decisions in New York

            55.      Recent history of FHWA decisions in New York in regard to EIS’s indicates one

should have been performed here. The failure to require an EIS was arbitrary and capricious.

            56.      The FHWA has required a full EIS for at least eight projects in New York State over

the past ten years. These projects are significantly less complex and far-reaching than the

Congestion Pricing plan at issue here.

            57.       In 2014, the FHWA required an EIS to assess a project that would modify the I-87

Exit 4 area in the Town of Colonie, New York by constructing new exit ramps, an intersection and

bridge, and widening surrounding pavement. The FHWA also mandated EIS’s for a proposal to re-

route existing I-81 to connect with existing I-481 and replace signage in Syracuse; for a proposal to

construct two new ramps and replace a bridge near Buffalo; and for the addition of a 4.3-mile




8
    Id.
9
    Id.
10
     Id.
11
     Id. at 11.
                                                      19
              Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 20 of 50



vehicular travel lane near JFK Airport in 2019. BPC, too, has had a number of projects, including

the Battery Park Resilience Project in 2022 and adding ferry service in 2020, requiring a full EIS.

           58.      The impact of these projects pales in comparison to the impact the Congestion

Pricing Plan will have on the City of New York. The Congestion Pricing Plan will foist a $15 daily

toll on millions of New Yorkers, systematically change traffic patterns, and increase air pollution

and congestion throughout certain communities in New York City, including environmental justice

communities, for up to 20 years. The Congestion Pricing Plan required a comprehensive EIS

assessment.

           59.      In October 2017, then-Governor Cuomo convened a “Fix NYC Advisory Panel” and

tasked that group with developing recommendations to address congestion in Manhattan and

identify sources of revenue to fund the ailing New York City subway system. In January 2018, this

panel issued a report recommending that “the MTA must first invest in public transportation

alternatives and make improvements in the subway system before implementing a zone pricing plan

to reduce congestion.” The report also stated that this would require “completion of an

Environmental Impact Statement (EIS).” 12

           60.      It defies logic and common sense to assert that an EIS was not necessary here. Such

studies are routinely completed for far less complicated projects; the governor acknowledged that

one would be necessary; and the EPA stated that one should be completed. Instead, the MTA’s

precarious financial situation and political pressure to fix this problem have led to shortcuts and a

process that, to date, is being rushed to completion.

                 D. The Congestion Pricing Plan

           61.      In April 2019, the New York State Legislature passed the MTA Reform and Traffic

Mobility Act (the “Traffic Mobility Act”), “to create a dedicated revenue stream that “at minimum,


12
     See Fix NYC Advisory Panel Report (January 2018), https://www.hntb.com/fix-nyc-report/.

                                                          20
             Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 21 of 50



ensure[s] annual revenues and fees collected under such program . . . fund fifteen billion dollars []

for . . . the 2020 to 2024 MTA capital program” as well as any successor programs while reducing

traffic congestion within the CBD. N.Y. Veh. & Traf. Law § 1704-a(1).

          62.     The Traffic Mobility Act authorized the TBTA, an affiliate of the MTA, to

“establish and charge variable tolls and fees.” Id. It also directed the TBTA to establish a plan to

toll vehicles entering or remaining in the CBD. Id. §§ 1704-a(3)(a), 1705. The CBD will generally

include the entirety of Manhattan south of 60th Street, with a few key exceptions, including the

FDR Drive and the West Side Highway. 13




          63.     Shortly thereafter, the New York State Legislature passed the 2019-2020 budget,

authorizing the Congestion Pricing Plan and mandating that it be implemented no earlier than

December 31, 2020.

          64.     Between April 2019 and early 2020, the Project Sponsors met with the prior federal

administration more than a dozen times to discuss its assessment. Little progress was made and by

July 2020, the government had not yet informed the MTA as to whether it needed to undertake an



13
     MTA, Map, Central Business District Tolling Program (Jan. 22, 2020), https://new.mta.info/map/6726.

                                                         21
             Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 22 of 50



EA or EIS. 14

           65.   In February 2021, the MTA’s then-chief development officer (now Chair and

CEO), Janno Lieber, stated, “[i]n recent weeks,” the MTA “heard from the Federal Highway

Administration that they are going to fast-track our environmental process.” In March, Lieber

confirmed that “the MTA has heard from the Federal Highway Administration that they will be

fast tracking the MTA’s environmental process, which will certainly get the MTA moving forward

towards being able to realize this source of funds and instituting [congestion pricing].” (Emphasis

added.)

           66.   A few days later, the FHWA authorized the MTA and New York transportation

agencies to proceed with a NEPA Class III EA action under 23 C.F.R. § 771. The FHWA

emphasized that it would “expedite its efforts wherever possible.”

           67.   In Spring 2021, the Project Sponsors began preparing the Draft EA, even though the

details of the Congestion Pricing Plan were far from settled—and indeed would not be settled

before the FHWA purportedly completed its NEPA review. It was unclear, for example, how

much the toll would be, when and at what times the toll would be in effect, who would have to pay

it, and whether there would be exemptions. Despite the obviousness that each of those decisions

can substantially affect whether and how the scheme impacts surrounding communities, the “fast

tracking” continued. To complete the Draft EA, the Project Sponsors used data from 2019, before

the pandemic, estimating that traffic and behavior had been returned unchanged to pre-pandemic

patterns and made no attempt to update the underlying information.

           68.   On August 10, 2022, the Project Sponsors made the completed Draft EA available

to the public. The Draft EA reflected their determination that an EIS was not required for the

Congestion Pricing Plan. Plaintiffs responded to the Draft EA during this time.

14
     Id.

                                                 22
           Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 23 of 50



        69.      The FHWA’s fellow federal agency, the EPA, raised significant concerns about the

plan’s impacts. On September 22, 2022, the EPA sent a letter to the FHWA and the Project

Sponsors. The EPA found that “[d]ue to the insufficiency of data in the Draft EA around localized

and disproportionate air quality impacts in the surrounding area, EPA is unable to confirm that

impacts are less than significant without appropriate mitigation.”

        70.      The EPA remained concerned about the potential for adverse air quality impacts on

communities, where “the analysis in the Draft EA projects that traffic congestion will likely worsen

due to the Project implementation.”

        71.      The EPA recommended that the FHWA “improve[]” its analysis “of these sensitive

areas” and identify “appropriate mitigation . . . to ensure adverse impacts are less than significant,

especially given the historical environmental justice (EJ) concerns and cumulative impacts to the

affected communities.”

        72.      Overall, the EPA pressed the FHWA to engage in “additional analysis” to “clarify

and expand” on several topics in the EA and “provide mitigation measures in accordance with

EPA’s . . . detailed comments to better address: the alternatives analysis; direct, indirect, and

cumulative impacts; impacts on communities with [environmental justice] concerns; and

mitigation commitments to address significant adverse impacts during and after implementation of

the proposed action.” 15

        73.      In early May 2023, the FHWA published its Final EA.

        74.      The FHWA also published a Draft FONSI. In the Draft FONSI, the FHWA stated




15
   In March 2023, the MTA reportedly submitted a “secret memo” to the FHWA indicating that it would commit
additional dollars towards mitigation measures for New York environmental justice communities. The memo was not
made publicly available. Recent news reports also suggest that there was subsequent communication after the issuance
of the FONSI between the EPA and the FHWA regarding the adequacy of the proposed mitigation efforts. That
communication was also not made publicly available. These type of outside-the-record, intra-agency communications
were never subject to public scrutiny or interested stakeholder comment, and serve to underscore the lack of
transparency in the NEPA process.
                                                         23
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 24 of 50



that it had “independently evaluated the Final EA and determined it to adequately and accurately

document the purpose and need, environmental issues, and impact of the Proposed Action and

appropriate mitigation measures.” The FHWA thus concluded that the Final EA “provide[d]

sufficient evidence and analysis” to determine that an EIS was “not required.”

       75.     The Draft FONSI summarized the potential effects of congestion pricing and New

York-based mitigation measures that would allegedly prevent any significant impacts. The FHWA

recognized that the Congestion Pricing Plan could increase traffic diversions, and thus emissions,

in the Bronx, and in New York under all seven tolling scenarios.

       76.     Nevertheless, the FHWA determined there was “no mitigation needed” and “no

adverse effects.” However, it did recommend, but did not require, that the TBTA work with the

New York City Department of Health and Mental Hygiene, as well as the New York State

Department of Environmental Conservation to monitor PM2.5 (a measure of fine inhalable

particles) to determine whether changes in air pollution occur as a result of the changes in traffic

patterns in New York.

       77.      The Draft FONSI was made available for public review for 30 days, after which

time the FHWA would make its final determination on whether to prepare an EIS.

       78.      Plaintiffs responded during this time frame.

       79.      However, just a few weeks later, without ever responding to Plaintiffs’ letters, the

FHWA published its Final FONSI without notable changes. In many respects, the Final EA and

FONSI reflected a deficient and inadequate assessment of the seven or more tolling scenarios and

their possible effects on BPC and Lower Manhattan, a failure to require necessary mitigation

measures, particularly in all communities with environmental justice concerns, and a failure to

consider alternatives—all culminating in an unjustified finding of no significant impact.

       80.      To this date, none of the Defendants have provided any data pertaining to
                                                  24
           Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 25 of 50



measurements of the existing air quality (PM1, PM2.5, PM10, VOCs) along the densely-populated

exempted thoroughfares in question and therefore cannot provide either proxy or statistically

extrapolated post-congestion pricing impact considerations.

               E. Battery Park City and Lower Manhattan

         81.      BPC is a mainly residential, 92-acre neighborhood on the west side of the southern

tip of the island of Manhattan in New York City. Its boundaries are the Hudson River on the west,

the Hudson River shoreline on the north and south, and the West Side Highway on the east. The

neighborhood is named for the Battery, formerly known as Battery Park, located directly to the

south.

         82.      Following the devastating impact of the 9/11 terrorist attacks on BPC and Lower

Manhattan, there has been considerable public and private efforts to revitalize the area through

considerable investment, including a commitment to green initiatives. Despite the EA summary

statement that the Congestion Pricing Plan “would not result in adverse effects to parks or open

spaces,” it failed to acknowledge BPC’s approximately 36 acres of parks gardens and public space,

an urban farm, significant water life and bird life, and natural flora/fauna that were never examined.

The proposed plan will likely adversely impact these areas, in part, due to increased traffic on

exempted thoroughfares.

         83.      There are many residential buildings that are along lower West Street and the Hugh

L. Carey Tunnel as well as schools and parks. Further, along West Street, there are several schools,

playgrounds, and residential areas that families call their home.

         84.      The environmental and safety issues for BPC’s children and Lower Manhattan, more

broadly, have not been sufficiently reviewed. The likely increased congestion due to this exempted

thoroughfare will result in an increase of air, noise, and other environmental pollution.




                                                   25
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 26 of 50



       85.     The decision to exclude West Side Highway, the FDR Drive, the Battery Park

Underpass, along with any surface roadway portions of the Hugh L Carey Tunnel connecting to

West Street from the CBD is arbitrary and there has not been appropriate analysis on the impact for

the communities that abut the exempted thoroughfares. To date, there has been no basis as to how

this decision was reached by government leaders other than that without these exempted

thoroughfares, the proposed congestion plan pricing cannot work.

       86.     BPC and Lower Manhattan has limited access points to enter and exit the

neighborhood. Unless entering at the very southern tip of Lower Manhattan at Battery Park, all

residents must enter by crossing West Side Highway by foot or vehicle. Further, there is no

subway access in BPC and there are limited bus options. BPC residents are being held hostage,

locked in their corner of the CBD zone in a way that no other neighborhood in Manhattan is. BPC,

with its unique geographical issues, will generate significant revenue for the MTA under the

Congestion Pricing Plan.

       87.     The EIS is necessary to answer the questions that Plaintiffs and other concerned

families and residents have regarding their quality of life and safety in BPC and Lower Manhattan.

       88.     In contrast to the treatment of BPC and Lower Manhattan environmental justice

communities, similar issues for economic justice communities in close proximity to thoroughfares

impacted by the CBD were at least mentioned in mitigation proposals, such as asthma-related

programs, though such efforts were wholly inadequate. But the BPC neighborhood, of which the

population is composed 25 percent of children, has not been reviewed at all.

       89.     BPC was omitted from the analysis of any studies conducted. As West Street is an

exempted thoroughfare, it is likely that the FDR Drive and West Street will experience increases in

traffic congestion as drivers look to avoid the CBD, whether from New Jersey, Queens, or

Brooklyn. Along West Street, there are residential buildings, offices, playgrounds, schools, parks,

                                                 26
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 27 of 50



and a bike path. Increased congestion would substantially impair the livability of the BPC area. It

is astounding that in a climate-sensitive era, the proposed models would significantly increase

regional VMT (vehicular miles traveled).

       90.     The EA is insufficient for many reasons.

       91.     First, the EA did not address the impact of increased congestion on the exempted

thoroughfares on neighborhoods like BPC and the Lower East Side.

       92.     Second, the 2019 data utilized for the EA is incomplete. The data does not consider

the physical, economic, and demographic changes to New York City post-COVID. This includes

outdated income analysis, outdated cost-of-living analysis, and outdated demographics and

absolutely zero air quality data collection nor analysis. Public transportation use is also invalid

because the model uses outdated statistics. Further, the EA does not take into consideration the

loss of thoroughfare square footage for traffic due to the construction of sheds and delayed street

construction projects post-COVID. Nor does the EA even consider phasing in the toll over a

period of years, while improvements are made to mass transit to accommodate increased use.

       93.     The result of the proposed CBD and Plan is to shift traffic from within the CBD to

the borders of the CBD at the expense of the adjacent communities along the exempted

thoroughfares. This contradicts the stated intention behind the Congestion Pricing Plan and the

CBD.

       94.     The increased congestion along these exempted thoroughfares will result in poor air

quality for residents as well as increased pedestrian injury and death, by crossing exempted

thoroughfares to enter and exit BPC confines. Although the MTA flags, for asthma risk, similarly

burdened congestion points in New York City, BPC is not independently evaluated.

       95.      Moreover, the FHWA failed to consider the impact of Congestion Pricing on

certain historic places in BPC that are listed or eligible for listing in the New York State and


                                                  27
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 28 of 50



National Register of Historic Places, including the Bowery Historic District and Hudson River

Bulkhead, and completely failed to analyze the impact of traffic patterns, congestion and

environmental changes on these historic properties, limiting its analysis to a superficial review of

whether tolling scanners would impact the façade or exteriors of these buildings. Moreover, no

review at all was conducted as to whether the Congestion Pricing Plan and the resulting traffic

would have an adverse impact on Route 9A and the land beneath it, which has been identified and

reviewed for archeological considerations in numerous transportations projects, including EIS

reviews, impacting Lower Manhattan and BPC.

       96.      As such, Defendants should be required to further re-evaluate, and conduct and

complete the required process to conduct an EIS.

       97.      BPC has a high population of families with school children. Many of these

residents rely on private transportation to and from school. There are various reasons that parents

may need to transport children in this manner, including lack of proximity to public transportation

and disabilities that may prevent a child from taking public transportation.

       98.      The Congestion Pricing Plan also unduly puts a financial burden on BPC families

when the MTA plan admits that the increase in traffic will cause health and safety issues. The cost

of treating children’s medical bills if they are faced with daily vehicular exhaust at their local

zoned schools would be a huge financial burden in health and medical bills in the community. The

fact that BPC residents do not know the exact cost, and an answer was not presented, is also why

an EIS is needed.

       99.      The Congestion Pricing Plan will impact local businesses in the congestion zone

due to a loss of customer traffic and an increased cost of delivered goods and services. This will

create financial hardship for local businesses and the families that patronize them.

             F. Plaintiffs’ Efforts to Engage in the NEPA Process

                                                   28
         Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 29 of 50



      100.    Under NEPA, agencies are required to provide meaningful opportunities for public

participation. The FHWA regulations state that public involvement is a “essential part of the

development process for proposed actions.” 23 C.F.R. § 771.105(d). Since the Draft EA was

issued in August 2022, Plaintiffs have attempted to voice their concerns and participate in the

NEPA process, but have been thwarted at every turn.

      101.    Starting in August 2022, BPC and Lower Manhattan residents voiced concerns to

the MTA that the exempted thoroughfares would significantly impact Lower Manhattan, including

the imposition of a substantial financial and environmental burden on families, the elderly, those

suffering from 9/11-related cancers, and other illnesses who need travel to doctors outside the

CBD, and others taxed by virtue of being “trapped” within the Lower Manhattan CBD. Many

commenters stated that they generally supported the Congestion Pricing Plan but that high tolls

would cause more traffic diverted to exempted highways and that streets such as West Side

Highway—already a dangerous pedestrian crossing for children and others—would become even

more dangerous.

      102.    With the issuance of the Final EA and draft FONSI and commencement of the 30-

day comment period, Plaintiffs and others attempted to navigate the NEPA process, but were met

with resistance. Despite the commencement of the comment period, Plaintiffs were repeatedly

told by local officials at Community Board meetings and in conversations that it was “too late to

fight congestion pricing” because the Congestion Pricing Plan had the federal approval it needed

and that they were “out of luck” on their ability to make a public comment. Other officials were

indifferent, at best, in helping Plaintiffs to navigate the confusing NEPA process.

      103.    Nevertheless, on June 12, 2023, Plaintiffs sent a comment package to the Final EA

and Draft FONSI to the Defendants. In addition to their letter outlining the significant

deficiencies in the EA and FONSI and need for an EIS, Plaintiffs presented testimony,


                                                29
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 30 of 50



 questionnaires, and letters from local schools in the area explaining the myriad concerns with the

 Congestion Pricing Plan. Among others, Plaintiffs’ submissions raised the following issues:

                i.   BPC completely was omitted from the analysis or any studies conducted.

              ii.    The BPC Community, with a quarter of its population under 17 years of age
                     (and also includes a large population of elderly residents) directly abuts an
                     exempted thoroughfare, West Street, which has schools, parks, playgrounds,
                     residences, offices stores, and a bike path directly adjacent to it. The
                     Congestion Pricing Plan would undoubtedly increase traffic congestion on
                     West Street as well as the FDR Drive, which poses serious traffic, public
                     safety, and health concerns.

              iii.   No environmental analysis was conducted as to the impact of increased traffic
                     on the exempted thoroughfares on the Lower Manhattan community.

              iv.    No analysis was done to consider the significant financial hardship on those
                     living in BPC, with 25% of its residents having vehicles, that does not have a
                     single subway in its 92-acres and whose only roadways in and out are via the
                     West Side High Way crossing. The financial burden would likely lead to
                     displacement.

               v.    No analysis was done with respect to the many schools in Lower Manhattan,
                     including the environmental impact as well as the financial impact on the many
                     BPC and Lower Manhattan families who rely on private transportation to
                     transport children to and from school.

       104.     After Plaintiffs successfully navigated the complex federal regulatory NEPA process

 (without help from local officials), their submission was met with complete silence. Nothing was

 changed from the Draft FONSI to the Final FONSI to address Plaintiffs’ concerns.

           G. The Final EA and FONSI Failed to Comply with NEPA

       105.     Defendants are in continued violation of federal law. The Final EA and FONSI,

which FHWA adopted, failed to comply with NEPA for at least four reasons: (1) the FHWA

failed to consider, propose, or commit to mitigation of the increased pollution in BPC and Lower

Manhattan; (2) the FHWA erroneously did not consider alternatives besides a no-action

alternative; (3) the FHWA failed to take a hard look at each of the proposed congestion pricing

schemes, or the recommended tolling scheme, as is required; and (4) despite the differences


                                                  30
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 31 of 50



between the EA’s tolling scenarios and the actual TMRB recommendation, the FHWA does not

intend to supplement the NEPA process.

                i.      The Final EA and FONSI Failed to Consider or Propose Mitigation of
                        the Pollution that the Congestion Pricing Plan Will Have Due to Traffic
                        Pattern Shifts.

       106.    Contrary to the requirements of NEPA, the FHWA’s Final EA fails to consider

fully the effects that the Congestion Pricing Plan will have on air pollution. While the Final EA

acknowledged that congestion pricing will cause increased air pollution, it mischaracterized those

impacts as insignificant (without adequately studying them), and failed to adequately assess the

localized nature of those impacts.

       107.    The EPA urged the inclusion of a “more expansive microscale screening analysis of

intersections,” and encouraged the FHWA to consider “[a]ll potential adverse impacts . . .

irrespective of benefits to other areas,” and prepare a “comprehensive mitigation package”

accordingly.

       108.    The Final EA noted several mitigation measures. These, however, were not

adequately analyzed and do not adequately affect the issues facing BPC and Lower Manhattan and

other communities in New York with likely adverse environmental impacts. These measures

include replacing transport refrigeration units at Hunts Point Produce Market, implementing

electric truck charging infrastructure in New York (though the ultimate tolling structure provides

no incentives to using electric vehicles), and establishing an asthma case management program and

asthma center in the Bronx. Putting aside the question whether these efforts are in any way

meaningful to those communities, they offer nothing specific to BPC and Lower Manhattan

communities. The remaining measures—installing roadside vegetation to improve air quality,

renovating parks and greenspace in environmental justice communities, installing air filtration

units in schools near highways, and tolling certain vehicles traveling on the FDR Drive are

                                                 31
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 32 of 50



inadequate and vague, doing little to alleviate the significant impact of the Congestion Pricing Plan

on the BPC and Lower Manhattan.

       109.    The total amount to be spent on these few mitigation efforts is $155 million over

five years, a sum that pales in comparison to the needs of these communities, much less the $15

billion the MTA is expected to receive from the Congestion Pricing Plan.

                ii.     The Final EA and FONSI Failed to Consider Any Alternatives Besides
                        a No Action Alternative.

       110.    In the Final EA, the FHWA nominally determined that the purpose and need of

congestion pricing was to “reduce traffic congestion in the Manhattan CBD in a manner that will

generate revenue for future transportation improvements” to the MTA and “establish a tolling

program consistent with the purposes underlying the [Traffic Mobility Act].” But the FHWA did

not consider a reasonable range of alternatives to the proposed Congestion Pricing Plan in its

NEPA review, as required by law.

       111.    Instead, the FHWA considered only one alternative—the No Action Alternative.

All other potential alternatives were rejected at the outset because they would not achieve the $15

billion revenue goal set forth by the Traffic Mobility Act—notwithstanding the fact that they

would have reduced vehicle-miles traveled (one of the goals of the Act) and thus traffic

congestion.

       112.    Among other reasonable alternatives, the FHWA failed to meaningfully consider

rationing license plates, incorporating mandatory carpooling, or creating tolls on the East and

Harlem River Bridges. For instance, though the FHWA acknowledged that tolling the East and

Harlem River Bridges would adequately reduce traffic congestion, it did not meaningfully consider

this alternative because a single study found otherwise and there was no agreement in place to

direct funds from the bridge tolls to the MTA, so it would not meet its $15 billion threshold.

       113.    The FHWA also failed to meaningfully consider its own recommended congestion
                                                 32
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 33 of 50



pricing strategies, including parking pricing, priced vehicle sharing, and dynamic ridesharing. The

FHWA knew these alternatives, yet the Final EA barely mentioned—let alone seriously

considered—these possibilities, notwithstanding that some might better serve the policy objectives

of congestion pricing and comport with New York laws. For example, the FHWA determined that

high-occupancy toll lanes are not a reasonable alternative despite their “effective revenue

generat[ion] . . . due to the availability of free lanes on the same highway.”

       114.    The Final EA also did not try to consider cumulative alternatives that could have

met the MTA’s $15 billion revenue threshold. For instance, the FHWA failed to consider whether

carpooling, license plate rationing, and bridge tolls individually or in some combination would

have reduced VMT and the number of vehicles in Manhattan. FHWA also failed to consider a

phased-in toll program, which would allow the MTA to make improvements to public transit over

time to improve its reliability and accommodate increased ridership.

       115.    With only one true alternative, the No Action Alternative, the FHWA all but

ensured from the start that the Congestion Pricing Plan would receive NEPA clearance.

                 iii.   The Final EA and FONSI Failed to Take a Hard Look at Each of
                        the MTA’s Hypothetical Congestion Pricing Plan Scenarios.

       116.    The FHWA considered seven proposed tolling “scenarios” in its assessment of

congestion pricing. These scenarios greatly vary based on, for example, “the amount of the toll for

different types of vehicles, the times tolls would be imposed, exemptions from tolling, crossing

credits for tolls paid on other toll tunnels or bridges, and discounts in the form of ‘caps’ on the

number of tolls per 24-hour period to be applied to different types of vehicles.”

       117.    Throughout the Final EA and FONSI, the FHWA does not effectively distinguish

the relative impacts of each scenario. For example, the FHWA assumed that every scenario would

have the same degree of effect on parking conditions, pedestrian traffic, and noise levels—despite


                                                   33
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 34 of 50



the scenarios’ significantly different toll fees, hours, and exemptions. And, even where the FHWA

did disaggregate potential impacts, it did not explain how such impacts were calculated.

       118.    Moreover, the Final EA even contemplated that the TBTA could “adopt[] a toll

schedule structure that has substantially different attributes from those examined in this EA” and if

that happens, “the Project Sponsors would review those changes with FHWA” to “identify a

course of action to assess and document the changes in accordance with NEPA prior to

implementation of the Project.”

       119.    That the FHWA left open the possibility that there could be a Congestion Pricing

Plan that is “substantially different” than the ones proposed in the Final EA underscores that it did

not take a hard look at the environmental impacts of the proposed project.

       120.     Indeed, the FHWA presented summary findings unsupported by evidence that it

then applied to each scenario as if there were no differences among them and has not committed to

a full environmental assessment once the final scenario is adopted.

                iv.     The FHWA Did Not Take the Requisite “Hard Look” at the Actual
                        Congestion Pricing Scheme.

       121.    NEPA directs that if a statement, such as an EA, is “so inadequate as to preclude

meaningful analysis,” an agency “shall prepare and circulate a revised draft,” or a supplement to

the statement. 40 C.F.R. § 1502.9(a), (d).

       122.    Agencies are required to prepare supplements to either draft or final statements if the

agency “makes substantial changes in the proposed action that are relevant to environmental

concerns,” or there is “significant new circumstances or information relevant to environmental

concerns and bearing on the proposed action or its impacts.” Id. § 1502.9(d)(1)(i), (ii).

       123.    While there is much to consider when evaluating a congestion pricing program, this

ill-conceived plan essentially consists of three components: (i) a geographic zone, (ii) a tolling

scheme, and (iii) the technology to charge the tolls. Of these, the most consequential component,
                                                  34
           Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 35 of 50



of course, is the tolling scheme, for that will motivate driver behavior and the resultant

environmental impact.

        124.     That is also the component that the FHWA acknowledged in its FONSI would only

be known well after its finding. The FHWA further admitted that the actual tolling structure and

intended mitigation measures would, ultimately, need be re-evaluated after the TMRB

recommendation. But that re-evaluation will be relegated to a less rigorous and less public

process, depriving impacted communities of a meaningful right to participate in the administrative

process and failing to take the required hard look at the actual Plan.

        125.     FHWA did not take the requisite “hard look” at the ultimate tolling structure, which

differs from any of the seven tolling scenarios identified in the EA or FONSI. As set forth below,

among other things, the TMRB recommendation (i) extends peak-hour pricing from 5:00am to

9:00pm on weekdays, even though each of the EA’s scenarios analyzed peak hours of 6:00am to

8pm; (ii) sets the base toll at $15 even though none of the seven tolling scenarios analyzed a $15

toll; (iii) includes a $5 crossing credit for those traveling through the Lincoln and Holland Tunnels,

but no credit for the George Washington Bridge, even though the EA considered higher crossing

credits; and (iv) exempts licensed taxis and for-hire vehicles (“FHVs”) from the daily toll and

recommends a per-ride toll for each passenger trip, even though the EA never evaluated the impact

of a per-ride toll.

            H. The TMRB’s Recommendation

        126.     On November 30, 2023, well after the FHWA published its “final” finding of “no

significant impact,” the TMRB released its recommended toll structure. 16 The recommended toll

price and structure did not match any of the scenarios analyzed in the Final EA or FONSI.



16
  Congestion Pricing in New York: A toll structure recommendation from the Traffic Mobility Review
Board (Nov. 2023), https://new.mta.info/document/127761.

                                                        35
               Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 36 of 50



           127.      The recommended daytime toll rate applies from 5:00 AM to 9:00 PM on weekdays

and 9:00 AM to 9:00 PM on weekends (longer periods capturing many more drivers and causing

diversion of traffic from an earlier hour to surrounding areas). It includes the following tolls for

vehicles entering the CBD:

                a. $15 for passenger vehicles and passenger-type vehicles
                b. $24 for small trucks and intercity buses
                c. $36 for large trucks and tour buses
                d. $7.50 for motorcycles

           128.      In addition, the Report recommended that passengers of taxis be charged $1.25 per

ride and for-hire-vehicles (e.g., Uber) be charged $2.50 per-ride. 17

           129.       To put the $15 toll in context, an individual resident in BPC or lower Manhattan

traveling five times per week out of the CBD would face $75 per week, and over $3,000 per year in

additional costs, a significant amount of after-tax dollars (on top of existing tolls and mileage

costs). And BPC residents are already some of the most highly taxed residents in New York State.

           130.      Finally, the Report recommended that a credit against the daytime CBD toll rate be

provided only to vehicles entering through the four tolled entries that lead directly into the CBD:

                     i.    The Queens-Midtown,
                    ii.    Hugh L. Carey,
                   iii.    Holland,
                   iv.     Lincoln

           131.      The recommended credit against daytime tolls was:

                     i.    $5 for passenger vehicles and passenger-type vehicles,
                    ii.    $2.50 for motorcycles,
                   iii.    $12 for small trucks and intercity buses,
                   iv.     $20 for large trucks and tour buses



17
     Unlike for other tolls in the proposed action that only apply up to once per day, these tolls are charged per ride.
                                                               36
           Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 37 of 50



These toll credits would not apply at night.

        132.     The TMRB Report provided no locational credit or exemption for drivers who live

in the Lower Manhattan area.

        133.     The TMRB also considered but rejected calls to exempt electric vehicles and to

exempt individuals with serious medical conditions who cannot take public transportation. For

disabled individuals, the TMRB stated in conclusory fashion that London, a city that reimburses

disabled commuters for the Congestion Pricing Plan tolls, has a national health insurance program,

and the United States does not have a comparable entity. This is despite the fact that approximately

one out of 15 New Yorkers has an ambulatory disability, and only 27% of the MTA’s 472 subway

stations are considered accessible under the Americans with Disabilities Act (and none are in close

proximity to BPC). 18

        134.     In a telling response to one of the EPA’s suggestions regarding low-income

exemptions, the Project Sponsors stated: “One of the four objectives of the Project is to create a

funding source for capital improvements and generate sufficient annual net revenues to fund $15

billion for capital projects…the more vehicles that are given cross credits, exemptions, etc., the

higher the toll must be to ensure sufficient revenues are generated.”

        135.     The Project Sponsors and the TMRB have maintained a myopic focus on Manhattan

traffic and MTA revenue to the detriment of all else, including the environmental impact and

individual financial burden on Lower Manhattan residents.

        136.     That focus is contrary to the stated environmental goals of New York State and City.

The City Council passed Local Laws 60 and 64, which mandate that a City interagency working

group produce an Environmental Justice Plan for New York that will, among other things, mandate

that City agencies incorporate environmental justice concerns into agency decision-making and


18
  Asmaa Elkeurti and Ana Ley, Elevators at Most Subway Stations? ‘I’ll Believe It When I See It.’, N.Y. Times (Aug.
31, 2023), https://www.nytimes.com/2023/08/31/nyregion/nyc-subway-accessible-disabled.html.
                                                         37
            Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 38 of 50



promote public participation and transparency in decisions that raise environmental justice issues.

The Environmental Justice Plan is scheduled to be issued in 2024. The TBTA and TMRB’s fast-

tracked process ensures that the City can elide these important new requirements.

         137.      While the TMRB’s recommendation summarily states that the Board has “paid

particular attention to the impact of the program on environmental justice communities,” the only

evidence of any analysis is a conclusory statement that it relied upon a “Best Practice Model” of

travel forecasting “and the analysis methodology approved by federal authorities for this Project.”

The recommendation acknowledges that the “environmental impact of Congestion Pricing . . . is

not uniform across the region” and that “traffic diversions can be a concern, particularly when they

occur in communities already burdened by comparatively high pre-existing air pollution and/or

chronic diseases.” Besides this acknowledgment, the TMRB took no further action beyond rubber-

stamping the EA and FONSI limited mitigation measures.

         138.      On December 6, 2023, the TBTA approved the TMRB’s recommendation to go

forward with its tolling program. 19

         139.      The TMRB and MTA’s recommendation will almost certainly not substantively

change after the public hearing process due to all the public comments already provided but largely

ignored following the Final EA and because the TBTA has openly expressed its conclusive

approval of the TMRB recommendation. 20




19
  Press Release, MTA Board Votes to Begin Public Review Process for Central Business District Tolling Rate
Schedule, MTA (Dec. 6, 2023, 9:30 PM), https://new.mta.info/press-release/mta-board-votes-begin-public-review-
process-central-business-district-tolling-rate.
20
   See MTA, MTA Board Meeting - 12/6/2023, YOUTUBE (Dec. 6, 2023), https://www.youtube.com/watch?v=0pfJ-
S9myBk at 1:43:00–2:38:00 (depicting several TBTA members expressing their support for the TMRB’s proposed
tolling plan). For example, Neal Zuckerman, MTA Board Member and Chair of Finance, stated to the TMRB, “I trust
that you’ve done it right, and listening to what you’ve reported to us, you have a balanced approach, a limited
approach, and frankly one that I think is very fair to all constituents. . . . I’m ready to get started and vote on this.” Id.
at 1:45:55–1:47:02.

                                                              38
               Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 39 of 50



            140.       On December 26, 2023, the TBTA also announced that it will have but four

hearings, on February 29, 2024, March 1, 2024, and two on March 4, 2024, 21 before the vote on the

TMRB’s recommendation takes place in the Spring of 2024.

            141.       The expectation of the MTA is that the tolling scheme will “go[] live in late

Spring.” 22

            142.       To achieve this expedited and preordained result, MTA Chief Operating Officer,

Allison C. de Cerreño, stated that concurrently with the public comment period and hearings, her

team is performing “the final analysis and re-evaluation to ensure that the effects of the actual toll

schedule remain consistent with the [FHWA’s] finding of no significant impact.” 23

            143.       Sixty percent of the infrastructure for the Congestion Pricing Plan has already been

built as of December 2023, and the MTA has already indicated that the recommendation will not

substantively change because “[i]f you change one aspect…the whole thing starts to unravel or fall

apart.” 24

                                          FIRST CLAIM FOR RELIEF
               (Violation of National Environmental Policy Act and Administrative Procedure Act)
                              (42 U.S.C. §§ 4321 et seq.; 5 U.S.C. §§ 701-706)

            144.       Plaintiffs reallege and incorporate by reference all preceding paragraphs as if set forth

fully herein.

            145.       The FHWA has failed to prepare an adequate environmental review of congestion




21
  Press Release, MTA Announces Details of Congestion Pricing Public Comment Period, MTA (Dec. 26,
2023, 9:30 PM), https://new.mta.info/press-release/mta-announces-details-of-congestion-pricing-publiccomment-
period.
22
  See MTA, MTA Board Meeting - 12/6/2023, YOUTUBE (Dec. 6, 2023), https://www.youtube.com/live/0pfJ-
S9myBk?si=4BnXippfzAml3OoC&t=6022 at 1:40:22 (Allison C. de Cerreño (MTA Chief Operating Officer): “We’re
looking forward to going live in late Spring.”).
23
     Id. at 1:39:42.
24
  Stephen Nessen and Clayton Guse, Don’t Expect Changes to MTA’s Congestion Pricing Even After Final Public
Review, GOTHAMIST (Dec. 8, 2023), https://gothamist.com/news/changes-to-mtas-congestion-pricing-nyc-nj.
                                                          39
            Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 40 of 50



pricing in the CBD that would satisfy its duty to consider all environmental impacts of a proposed

action, and to provide for public comment and participation in the public review process, in

violation of NEPA and its implementing regulations. 42 U.S.C. § 4321 et seq.; 40 C.F.R. § 1500.1

et seq.

          146.   As a result, the FHWA’s Final EA and FONSI are arbitrary, capricious, and an abuse

of discretion, and otherwise not in accordance with the law, in violation of NEPA and its

implementing regulations, and are subject to judicial review under the APA. 5 U.S.C. §§ 701-706.

          147.   These deficiencies include, without limitation, the following:

                                      Failure to Prepare an EIS

          148.   Prior to taking a major federal action, the FHWA must issue an EIS when the

proposed action is likely to have significant environmental effects. 40 C.F.R. § 1501.3(a)(3). In

assessing whether the effects of a proposed action are significant, the FHWA is required to analyze

the potentially affected environment and degree of the effects of the action. Id. § 1501.3(b).

          149.   In considering the degree of the effects, the FHWA must consider, inter alia,

(i) effects on public health and safety, (ii) both short- and long-term effects, and (iii) both beneficial

and adverse effects. Id. § 1501.3(b)(2).

          150.   The FHWA may issue a FONSI only where it has demonstrated that the proposed

action “will not have a significant effect on the human environment.” Id. § 1501.16.

          151.   Pursuant to the APA, 5 U.S.C. §§ 701–706, courts will set aside a FONSI and require

preparation of an EIS if the FONSI is determined to be arbitrary and capricious.

          152.   The FHWA violated NEPA by failing to prepare an EIS even though the

Congestion Pricing Plan will cause significant and unmitigated environmental impacts on BPC and

its residents, such as adverse air quality, public health, and pollution.

          153.   The FHWA erred in issuing a FONSI despite evidence in the record showing the


                                                    40
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 41 of 50



likelihood of significant adverse environmental effects (direct, indirect, and cumulative) and

findings that the Congestion Pricing Plan, as is, will have significant and unavoidable impacts on

BPC and the greater Lower Manhattan area, including environmental justice communities.

       154.       The FHWA further erred in recognizing these adverse environmental effects, but

then failing to propose or analyze sufficient “enforceable mitigation requirements or commitments

. . . to avoid significant impacts” or stating them within the FONSI as required under 40 C.F.R.

§ 1501.6(c).

       155.       The FHWA’s FONSI was conclusory and did not reflect adequate consideration of

relevant factors necessary to understand the environmental effects of the Congestion Pricing Plan,

nor did it consider adequate mitigation measures.

       156.       The FHWA failed to consider the full extent of direct, indirect, and cumulative effects

in BPC and its surrounding area of congestion pricing in the CBD.

       157.       The Final EA deficiencies, include, without limitation, the following:

                                           Failure to Mitigate

       158.       Under NEPA and its applicable regulations, an agency preparing an EA has an

obligation to take a hard look at the direct, indirect, and cumulative effects or impacts of the

proposed action and its alternatives, resulting from all past, present, and reasonably foreseeable

future actions.

       159.       Direct effects are those “caused by the action and occur at the same time and place.”

40 C.F.R. § 1508.1(g)(1). Indirect effects are those “caused by the action and are later in time or

farther removed in distance, but are still reasonably foreseeable.” Id. § 1508.1(g)(2). Cumulative

effects are those “that result from the incremental effects of the action when added to the effects of

other past, present, and reasonably foreseeable actions.” Id. § 1508.1(g)(3).

       160.       Here, the FHWA violated NEPA by failing to take the required hard look at direct,
                                                    41
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 42 of 50



indirect, and cumulative impacts that the seven (or more) potential congestion pricing schemes will

have on air pollution in BPC and its surrounding areas due to traffic pattern shifts and therefore

failing to propose or commit to mitigation efforts.

       161.    First, the FHWA overlooked the impacts of traffic pattern shifts in BPC and Lower

Manhattan. The FHWA failed to consider the impact these traffic pattern shifts would wreak on

the surrounding communities and the corresponding changes in traffic patterns that would occur to

avoid tolls. The FHWA acted arbitrarily and capriciously in failing to consider the changes in

traffic patterns in BPC and its surrounding areas.

       162.    Second, the FHWA further violated NEPA by failing to take the required hard look

at direct and indirect impacts that the Congestion Pricing Plan will have on increased noise

pollution in BPC and Lower Manhattan due to traffic pattern shifts, and therefore failed to propose

mitigation efforts. Despite recognizing that the Plan will result in “noise exposure” and

“increase[s] in traffic volumes,” it did not expand its assessment to areas where traffic will be

diverted as a result of the scenarios proposed by the Project Sponsors.

                    Failure to Consider a Reasonable Range of Alternatives

       163.    NEPA requires agencies to study a reasonable range of alternatives to their

proposed actions. 42 U.S.C. §§ 4332(2)(C)(iii), 4332(2)(E), 4332(2)(H); see also 40 C.F.R.

§§ 1501.5(c)(2), 1502.14.

       164.    The FHWA’s statement of purpose and need—to generate revenue for the MTA’s

transportation projects—is arbitrary, capricious, and an abuse of discretion. As such, the FHWA

did not consider a reasonable range of alternatives prior to the issuance of its Final EA and FONSI.

Instead, the FHWA considered only one alternative—No Action Alternative.

       165.    The FHWA arbitrarily and erroneously dismissed other alternatives submitted in

comments, including rationing license plates, incorporating mandatory carpooling, and creating

                                                  42
            Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 43 of 50



tolls on the East and Harlem River Bridges. The FHWA further acted arbitrarily and capriciously

by failing to consider alternatives that it itself expressly recommends in its own guidance, such as

parking pricing, priced vehicle sharing and dynamic ridesharing, pay-as-you-drive fees, and high-

occupancy toll lanes.

       166.     The FHWA’s failure to analyze these reasonable alternatives adversely affected its

informed decision-making process and the ability of the public to meaningfully participate in its

decision.

            Failure to Take a Hard Look at Direct, Indirect, and Cumulative Impacts
                                 of the Congestion Pricing Plan

       167.     Pursuant to NEPA and its implementing regulations, the FHWA is required to take

a hard look at the direct, indirect, and cumulative environmental impacts of any proposed action

and each of its alternatives, including each of the proposed tolling scenarios. 42 U.S.C.

§§ 4332(2)(C); 40 C.F.R. §§ 1501.5(c)(2), 1502.14(a), 1502.16. Here, the FHWA failed to satisfy

this mandate.

       168.     First, the FHWA failed to take a hard look at the Congestion Pricing Plan because it

made the decision to “fast track” its environmental approval. The FHWA acted arbitrarily and

capriciously in its decision to “fast track” its approval of the undefined Plan without preparing a

full EIS.

       169.     Second, the FHWA acted arbitrarily and capriciously by failing to take a hard look

at each of the seven, now inapplicable “scenarios” envisioned as the final congestion pricing

scheme. Instead, the FHWA appears to have assumed that each scenario—despite differing toll

rates, hours, and exemptions—would have the same effects on traffic, parking conditions,

pedestrian movement, air pollution, traffic patterns, health impacts, and noise levels. The Final EA

and FONSI provided no data or analysis for the FHWA’s arbitrary conclusion that all seven

scenarios, or a possible undefined scenario, would have the same effect—“no significant

                                                  43
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 44 of 50



impact”—rendering the NEPA hard look requirement utterly moot.

       170.       Third, the FHWA failed entirely to take a hard look at impacts affecting BPC and

Lower Manhattan and its residents, including increased traffic, increased air emissions, and

environmental justice issues. Instead, the FHWA improperly limited its consideration of certain

impacts by selectively and inconsistently establishing what portions of the 28-county study area

were relevant to certain impact issues. As a result, the environmental impacts affecting BPC have

not been adequately identified, analyzed, considered, or mitigated.

       171.      As a result of the FHWA’s above failures, the FHWA’s decision to issue the Final

EA and FONSI in place of an EIS was arbitrary, capricious, unreasonable, an abuse of discretion,

and not in accordance with law, and without observance of procedures required by law, in

violation of NEPA, its implementing regulations, and the APA. 5 U.S.C. § 706(2)(A), (D).

       172.      Defendants are in continued violation of federal law.

                                  SECOND CLAIM FOR RELIEF
                             (Violation of NEPA – Failure to Supplement)

       173.      Plaintiffs reallege and incorporate by reference all preceding paragraphs as if set forth

 fully herein.

       174.      NEPA directs that if a statement, such as an EA, is “so inadequate as to preclude

meaningful analysis,” an agency “shall prepare and circulate a revised draft,” or a supplement to

the statement. 40 C.F.R. § 1502.9(a), (d).

       175.      Agencies are required to prepare supplements to either draft or final statements if the

agency “makes substantial changes in the proposed action that are relevant to environmental

concerns,” or there is “significant new circumstances or information relevant to environmental

concerns and bearing on the proposed action or its impacts.” Id. § 1502.9(d)(1)(i), (ii).

       176.      On November 30, 2023, the TMRB issued its recommendation regarding the toll

rates by vehicle, time of day, credits, discounts, and exemptions.
                                                    44
            Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 45 of 50



        177.    Most of these recommendations—including the toll price recommended—were not

adequately analyzed, modeled, or discussed in the Final EA or FONSI and require a hard look at

the potential financial and environmental consequences.

        178.    The FHWA did not take the requisite “hard look” at the ultimate tolling structure,

which differs from any of the seven tolling scenarios identified in the EA or FONSI. Among other

things, the TMRB recommendation (i) extends peak-hour pricing from 5:00am to 9:00pm on

weekdays, even though each of the EA’s scenarios analyzed peak hours of 6:00am to 8pm; (ii) sets

the base toll at $15 even though none of the seven tolling scenarios analyzed a $15 toll;

(iii) includes a $5 crossing credit for those traveling through the Lincoln and Holland Tunnels, but

no credit for the George Washington Bridge, even though the EA considered higher crossing

credits; and (iv) exempts licensed taxis and for-hire vehicles (“FHVs”) from the daily toll and

recommends a per-ride toll for each passenger trip, even though the EA never evaluated the impact

of a per-ride toll.

        179.    The TMRB’s recommendation constitutes significant new circumstances or

information relevant to environmental concerns and bears on the proposed action and its impact,

rendering the FONSI inadequate and devoid of meaningful analysis.

        180.    Defendants acknowledge that a further analysis need now be taken and, in light of

the gross deficiencies in their prior examination, they should be directed to fully supplement their

analysis.

        181.    Despite the acknowledgment of required further analysis, the MTA has already

publicly stated that it intends to ensure that its “re-evaluation” remains consistent with the FHWA’s

finding of “No Significant Impact” and that it will “go-live” with the Congestion Pricing Plan in the

Spring, after the four public hearings have just concluded in mid-March.




                                                  45
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 46 of 50



        182.     The MTA intends to have a quick “re-evaluation” process in a shortened timeframe,

rather than a full analysis.

        183.     Accordingly, FHWA’s current determination that it will re-evaluate rather than

supplement the FONSI or Final EA to address this new information—without taking the hard look

required by law—violates NEPA and its implementing regulations, and the Court should order a

full supplementation. See, e.g., 40 C.F.R. §§ 1502.9(a) and (d)(1)(i), (ii).

        184.     Defendants are in continued violation of federal law.

                                 THIRD CLAIM FOR RELIEF
        (Violation of the Dormant Commerce Clause – As Against Non-Federal Defendants)


        185.     Plaintiffs reallege and incorporate by reference all preceding paragraphs as if set forth

 fully herein.

        186.     The Commerce Clause empowers Congress to regulate commerce among the States,

but also directly limits the power of the States to discriminate against interstate commerce.

        187.     State law or policy violates the dormant commerce clause when it “clearly

discriminates against interstate commerce in favor of intrastate commerce” or “if it imposes a

burden on interstate commerce incommensurate with the local benefits secured.”

        188.     The dormant Commerce Clause’s principles apply to the MTA and TBTA given

their status as public benefit corporations.

        189.     Defendants, under color of state law, deprived Plaintiffs of their constitutional

rights, including their rights under the Commerce Clause by burdening them economically and

environmentally in an unreasonable and excessive manner incommensurate with the identified

benefits, imposing an impermissible burden on interstate commerce.

        190.     The significant burden on Plaintiffs—who drive and enter Manhattan each day and

from their residence and will bear the burden of redirected congestion and pollution—far outweighs


                                                    46
            Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 47 of 50



the regional benefit to traffic in Manhattan. The toll also discriminates, among other ways, by

excluding the George Washington Bridge and New Jersey commuters from the proposed discounts.

          191.   The discriminatory features of the Congestion Pricing Plan do not serve a legitimate

purpose that could not be served by nondiscriminatory alternatives.

          192.   The implementation of the toll (i) is not based on a fair approximation of the use of

the facilities; (ii) is excessive in relation to the local benefits conferred; and (iii) discriminates

against interstate commerce in violation of the United States Constitution.

          193.   Defendants are in continued violation of federal law.

                                      FOURTH CLAIM FOR RELIEF
                   (Violation of the Right to Travel – As Against Non-Federal Defendants)

          194.   Plaintiffs reallege and incorporate by reference all preceding paragraphs as if set forth

fully herein.

          195.   The United States Constitution protects the fundamental right to travel within the

United States.

          196.   State laws or policies implicate this fundamental constitutional right when impeding

travel is its primary objective.

          197.   Impeding certain travel is the primary objective of the Congestion Pricing Plan.

          198.   The Congestion Pricing Plan includes tolls that were designed to, and will, deter the

interstate and intrastate travel of Plaintiffs and/or the Plan penalizes their exercise of the right to

travel.

          199.   The Congestion Pricing Plan is not narrowly tailored to meet a significant

governmental interest.

          200.   The implementation of the toll (i) is not based on a fair approximation of the use of

the facilities; (ii) is excessive in relation to the local benefits conferred; and (iii) discriminates

against interstate commerce in violation of the United States Constitution.
                                                     47
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 48 of 50



       201.      Defendants are in continued violation of federal law.

                               FIFTH CLAIM FOR RELIEF
  (Violation of the New York State Constitution (Green Amendment) – As Against Non-Federal
                                          Defendants)

       202.      Plaintiffs reallege and incorporate by reference all preceding paragraphs as if set forth

 fully herein.

       203.      Article 1, Section 19 of the New York State Constitution protects every New

Yorker’s right to “clean air and water, and a healthful environment.”

       204.      These inherent and inalienable rights reflect the basic societal contract between

citizens and the government of New York.

       205.      The State, and in particular, public benefit corporations such as the MTA, TBTA,

and its TMRB, have an affirmative duty to all citizens of New York to protect the environment.

       206.      The combined acts and omissions of the MTA, TBTA, and TMRB, including but not

limited to, going forward with the Congestion Pricing Plan without further study or mitigation,

which will cause increases in air pollutants along the exempted thoroughfares and violate Plaintiffs’

right to clean air and a healthful environment.

       207.      In issuing its toll recommendation, the TMRB and TBTA ignored the clear

environmental concerns regarding air quality raised by the EPA regarding the Congestion Pricing

Plan, particularly to environmental justice communities.

       208.      Despite acknowledging that many New Yorkers will see an increase in traffic and

air pollution under the Congestion Pricing Plan, including those living in environmental justice

communities already burdened by comparatively high pre-existing air pollution and/or chronic

diseases, the TMRB and TBTA nevertheless conducted no further analysis of the likely pollution

and failed to provide any additional mitigation efforts beyond those already recommended by the

FHWA in the FONSI.


                                                    48
          Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 49 of 50



       209.         The purposefully fast-tracked Congestion Pricing Plan review ensures, among other

things, that the relevant agencies will not have to comply with local laws, which mandate that

agency programs, policies, and processes promote environmental justice, encourage public

participation and transparency, and factor environmental justice and environmental justice

community concerns in agency-decision making.

       210.          The TMRB recommendation and TBTA adoption and plan to implement the

Congestion Pricing Plan within a few months and without adequate environmental safeguards

reflects a wholesale abrogation of their obligations to ensure a habitable climate and healthful

environment for Plaintiffs. The recommended tolling plan (1) violates applicable state and federal

law and (2) violates Plaintiffs “right to clean air and water, and a healthful environment.”




WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief:

                i.      Issue a permanent injunction vacating and setting aside Defendants’ FONSI and
                        Final EA and compelling Defendants to complete a full and proper EIS for the
                        Congestion Pricing Plan;

              ii.       Declare that the FHWA’s failure to prepare an EIS for the Congestion Pricing
                        Plan, or to adequately explain why an EIS is unnecessary, violates NEPA, its
                        implementing regulations, and the APA;

              iii.      Declare that Defendants’ actions, including their FONSI and Final EA, are
                        invalid as a matter of law;

              iv.       In the alternative, declare that Defendants must conduct a full supplemental
                        review and take the requisite hard look at the Congestion Pricing Plan’s impact,
                        as is required, and that the proposed action may not move forward absent such
                        review;

               v.       Declare that Congestion Pricing violates Plaintiffs’ constitutional rights under
                        the United States Constitution;

              vi.       Declare that the Congestion Pricing Plan’s tolling recommendation and adoption
                        violates Plaintiffs’ constitutional rights under the New York State Constitution;

            vii.        Order the FHWA to prepare a full and proper EIS for the Congestion Pricing
                        Plan;
                                                      49
       Case 1:23-cv-10365-LJL Document 39 Filed 02/23/24 Page 50 of 50




        viii.   Award Plaintiff its costs for the action, including reasonable attorneys’ fees; and

         ix.    Grant such other relief as this Court deems just and proper.


Dated: New York, New York                      STEPTOE LLP
       February 20, 2024

                                        By:
                                                /s/ Alan M. Klinger
                                               Alan M. Klinger
                                               Dina Kolker
                                               David Kahne
                                               1114 Avenue of the Americas
                                               New York, New York 10036
                                               (212) 506-3900
                                               aklinger@steptoe.com

                                              Counsel for Plaintiffs




                                               50
